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                          IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF DELAWARE

  EMERSON QUIET KOOL CO. LTD. and              )
  HOME EASY LTD.,                              )
                                               )
                  Plaintiffs,                  )
                                               )
     V.                                        )    C.A. No. 20-1449-LPS-JLH
                                               )
  EMERSON ELECTRIC CO.,                        )
                                               )
                 Defendant.                    )


                                           ORDER

          WHEREAS, Shaw Keller LLP filed a Motion to Withdraw as Counsel for Plaintiffs

 Emerson Quiet Kool Co. Ltd. and Home Easy Ltd. ("Plaintiffs") (the "Motion");

          IT IS HEREBY ORDERED this ~ Y ofOG\.-eVzo21, that the Motion is

 GRANTED. The appearance of Shaw Keller LLP is withdra        from this action.




                                                   United States District Court Judge
